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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                  FAYETTEVILLE DIVISION



  UNITED STATES OF AMERICA                                                       PLAINTIFF


  v.                             CASE NO. 5:15-CR-50060


  LARRY JESUS NAVARETE
  a/k/a LARRY NAVARRETE
  a/k/a NICA
  and
  GUADALUPE DURAN
  a/k/a GUADALUPE NAVARRETE
  a/k/a ISABEL NAVARRETE                                                     DEFENDANTS


                                   OPINION AND ORDER


         Currently before the Court are Defendant Larry Jesus Navarete's Motion to


  Compel Discovery or in the Alternative for In Camera Review or Exclusion (Doc. 84) and


  the Government's Response (Doc. 93), as well as Mr. Navarete's Motion to Dismiss


  Counts 2, 5, 6 & 7 of the Superseding Indictment for Lack of Venue or in the Alternative


  to Transfer Venue (Doc. 85) and the Government's Response (Doc. 94). At the pretrial


  hearing yesterday on August 23, 2016, the Court heard oral argument on these motions,


  and ruled on them from the bench.      This Order briefly memorializes and explains the


  bases for those rulings.    To the extent that there is any conflict between the Court's


  statements from the bench and this written Order, the written Order shall control.


         Mr. Navarete's Motion to Compel seeks the production or exclusion of five


  categories of discovery. The first category is "[t]he identity and full file on any CS or CD


  denoted in the voluminous discovery provided," which the Court denied without prejudice


  as vague and premature because the Government will provide its witness and exhibit


  lists, as well as Jencks, Brady, and Giglio materials, to defense counsel by Thursday,



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  August 25, 2016, at noon. The second category is "[a] copy of any Audio Recording


  received by DEA Arkansas on or about June 16, 2015 and all associated documents or


  recordings ...of the Defendant," which the Court deemed moot because the Government


  has made it available for Mr. Navarete's counsel to review and does not intend to use it


  for any purpose at trial; the Court further explained that after Mr. Navarete's counsel


  listens to the recording, he may re-raise the issue of whether Mr. Navarete himself should


  be permitted to listen to it, if he can articulate the basis for any further relief with more


  specificity than he has thus far. The third category is "fifteen day reports" for this case


  and associated cases regarding Title Ill applications, which the Court deemed moot


  because the Government has already provided Mr. Navarete all the fifteen day reports in


  its possession. The fourth category is "[a]ll phone extractions performed in conjunction


  with this indictment,'' which the Court granted by ordering the Government to provide to


  Mr. Navarete's counsel in a Blu-ray DVD medium by no later than the close of business


  on August 24, 2016, absent technical difficulties. Mr. Navarete withdrew his motion as to


  the fifth category, which the Court accordingly deemed moot.


         Mr. Navarete's Motion to Dismiss or Transfer Venue argues that based on the


  discovery that has been provided, Mr. Navarete anticipates that the Government will be


  unable to prove that Counts 2, 5, 6, and 7 were committed in the Western District of


  Arkansas. The Government disagrees. The Court lacks sufficient factual context at this


  time to know which side has the more accurate perception of the proof in this case, but


  observes that the Superseding Indictment explicitly charges that these crimes occurred


  in the Fayetteville Division of the Western District of Arkansas. Therefore, whether venue


  in this district is proper is "a question of fact for the jury" to determine whether the




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  Government has proven "by a preponderance of the evidence,". which may be


  accomplished by "circumstantial evidence alone." United States v. Black Cloud, 590 F.2d


  270, 272-73 (8th Cir. 1979).     Therefore, Mr. Navarete's Motion to Dismiss or Transfer


  Venue is denied without prejudice to his right to re-raise the issue at an appropriate time.


         Mr. Navarete is concerned that if venue is ultimately found to be improper on some


  or all of these Counts, then it might be impossible to remove any prejudice as to the


  remaining Counts resulting from the introduction of evidence on the improperly-tried


  Counts that would not have otherwise come in. The Court is skeptical of this concern, as


  it appears that the Government's theory of the case alleges that Counts 2, 5, 6, and 7


  were committed by Mr. Navarete in furtherance of the conspiracy charged in Count 1. But


  if Mr. Navarete's concerns on this front come to fruition, then the Court will certainly


  entertain and carefully consider requests for curative jury instructions, for a mistrial, or for


  any other appropriate relief under Rule 29, Rule 33, or any other Federal Rule of Criminal


  Procedure.


         IT 15 THEREFORE ORDERED that Defendant Larry Jesus Navarete's Motion to


  Compel Discovery or in the Alternative for In Camera Review or Exclusion (Doc. 84) is


  GRANTED IN PART, DENIED IN PART, AND MOOT IN PART, and that Mr. Navarete's


  Motion to Dismiss Counts 2, 5, 6 & 7 of the Superseding Indictment for Lack of Venue or


                                         J.!
  in the Alternative to Transfer Venue (Do       5) is DENIED.


         IT 15 50 ORDERED on this       �        day of Augus     '0 16.




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